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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  ROTHSCHILD CONNECTED DEVICES    §
  INNOVATIONS, LLC,               §
                                  §
          Plaintiff,              §                           No. 15-CV-1877-JRG-RSP
  v.                              §                                 LEAD CASE
                                  §
  AMERICAN HONDA MOTOR CO., INC., §
  et al.,                         §
                                  §
          Defendants.             §



                     DEFENDANTS’ NOTICE OF COMPLIANCE
  ______________________________________________________________________________

         Pursuant to Patent Rule 4-1 and the Court’s Docket Control Order of March 14, 2016

  (Docket No. 70), Defendants Subaru of America, Inc., Volvo Cars of North America, LLC,

  Cellco Partnership d/b/a Verizon Wireless, FCA US LLC, Mercedes-Benz USA, LLC, T-Mobile

  USA, Inc., and Toyota Motor Sales USA, Inc. hereby notify the Court that they have complied

  and served Plaintiff with their P.R. 4-1 disclosures on May 18, 2016, via electronic mail.

  Dated: May 19, 2016                                  Respectfully submitted,

                                                       By: /s/ Dawn M. Jenkins
                                                       Matthew D. Satchwell
                                                       Illinois Bar No. 6290672
                                                       matthew.satchwell@dlapiper.com
                                                       DLA PIPER LLP (US)
                                                       203 N. LaSalle St., Suite 1900
                                                       Chicago, IL 60601-1293
                                                       Telephone: 312.368.2111
                                                       Facsimile: 312.326.7516

                                                       Dawn M. Jenkins
                                                       State Bar No. 24074484
                                                       dawn.jenkins@dlapiper.com
                                                       DLA PIPER LLP (US)
Case 2:15-cv-01877-JRG-RSP Document 119 Filed 05/19/16 Page 2 of 6 PageID #: 569




                                          1000 Louisiana, Suite 2800
                                          Houston, TX 77002
                                          Telephone: 713.425.8454
                                          Facsimile: 713.300.6054

                                          Courtney Stewart
                                          Texas Bar No. 24042039
                                          courtney.stewart@dlapiper.com
                                          DLA PIPER LLP (US)
                                          401 Congress Avenue, Suite 2500
                                          Austin, TX 78701-3799
                                          Telephone: 512-457-7000
                                          Facsimile: 512-457-7001

                                          ATTORNEYS FOR DEFENDANTS
                                          VOLVO CARS OF NORTH AMERICA,
                                          LLC, AND SUBARU OF AMERICA,
                                          INC.


                                          By: /s/ Jonathan Falkler (w/permission)
                                          Frank C Cimino , Jr
                                          Venable LLP
                                          575 7th Street, NW
                                          Washington, DC 20004
                                          202-344-4569
                                          Fax: 202-344-8300
                                          Email: FCCimino@venable.com

                                          Megan S Woodworth
                                          Venable LLP
                                          575 7th Street, NW
                                          Washington, DC 20004
                                          202-344-4507
                                          Fax: 202-344-8300
                                          Email: MSWoodworth@venable.com

                                          J Thad Heartfield
                                          The Heartfield Law Firm
                                          2195 Dowlen Rd
                                          Beaumont, TX 77706
                                          409/866-3318
                                          Fax: 14098665789
                                          Email: thad@heartfieldlawfirm.com

                                          Jonathan Falkler
Case 2:15-cv-01877-JRG-RSP Document 119 Filed 05/19/16 Page 3 of 6 PageID #: 570




                                          Venable LLP
                                          575 7th Street, NW
                                          Washington, DC 20004
                                          202-344-4503
                                          Fax: 202-344-8300
                                          Email: jlfalkler@venable.com

                                          ATTORNEYS FOR FCA US LLC


                                          By: /s/ Brett Watkins (w/permission)
                                          Edward J DeFranco
                                          Quinn Emanuel Urquhart & Sullivan, LLP
                                          51 Madison Ave
                                          22nd Floor
                                          New York, NY 10012
                                          212/849-7106
                                          Fax: 212/849-7100
                                          Email: eddefranco@quinnemanuel.com

                                          Jeffrey Stuart Gerchick
                                          Brett Nelson Watkins
                                          Quinn, Emanuel, Urquhart & Sullivan LLP
                                          777 6th Street, NW
                                          11th Floor
                                          Washington, DC 20001
                                          202-538-8000
                                          Fax: 202-538-8100
                                          jeffgerchick@quinnemanuel.com
                                          brettwatkins@quinnemanuel.com

                                          ATTORNEYS FOR MERCEDES-BENZ
                                          USA, LLC


                                          By: /s/ Lillian Mao (w/permission)
                                          Alex Verbin Chachkes
                                          Orrick Herrington & Sutcliffe- New York
                                          666 Fifth Avenue
                                          New York, NY 10103-0001
                                          212/506-3748
                                          Fax: 212/506-5151
                                          Email: achachkes@orrick.com

                                          Lillian Mao
                                          Orrick Herrington & Sutcliffe - Menlo Park
Case 2:15-cv-01877-JRG-RSP Document 119 Filed 05/19/16 Page 4 of 6 PageID #: 571




                                          1000 Marsh Road
                                          Menlo Park, CA 94025
                                          650-614-7400
                                          Fax: 650-614-7401
                                          Email: lmao@orrick.com

                                          Mark S Parris
                                          Orrick, Herrington & Sutcliffe LLP - Seattle
                                          701 Fifth Avenue
                                          Suite 5600
                                          Seattle, WA 98104
                                          206.839.7300
                                          Fax: 206.839.4301
                                          Email: mparris@orrick.com

                                          ATTORNEYS FOR T-MOBILE USA,
                                          INC.


                                          By: /s/ Thomas W. Winland (w/permission)
                                          Thomas W. Winland
                                          Finnegan Henderson Farabow Garrett &
                                          Dunner
                                          LLP-DC
                                          901 New York Ave, NW
                                          Washington, DC 20001
                                          202/408-4085
                                          Fax: 202/408-4400
                                          Email: tom.winland@finnegan.com

                                          James R. Barney
                                          Finnegan Henderson Farabow Garrett &
                                          Dunner
                                          LLP-DC
                                          901 New York Ave, NW
                                          Washington, DC 20001
                                          202/408-4000
                                          Fax: 202/408-4400
                                          Email: james.barney@finnegan.com
Case 2:15-cv-01877-JRG-RSP Document 119 Filed 05/19/16 Page 5 of 6 PageID #: 572




                                          Jose M. Recio
                                          Finnegan Henderson Farabow Garrett &
                                          Dunner
                                          LLP-DC
                                          901 New York Ave, NW
                                          Washington, DC 20001
                                          202.408.4126
                                          Fax: 202.408.4400
                                          Email: jose.recio@finnegan.com

                                          Leslie H Tronche
                                          Beck Redden LLP - Houston
                                          1221 McKinney
                                          Suite 4500
                                          Houston, TX 77010-2010
                                          713-951-3700
                                          Fax: 713-951-3720
                                          Email: ltronche@beckredden.com

                                          Thomas Edward Ganucheau
                                          Beck Redden & Secrest LLP
                                          One Houston Center
                                          1221 McKinney St, Suite 4500
                                          Houston, TX 77010-2020
                                          713/951-3700
                                          Fax: 17139513720
                                          Email: tganucheau@brsfirm.com

                                          ATTORNEYS FOR TOYOTA MOTOR
                                          SALES USA, INC.


                                          By: /s/ David C. Dotson (w/permission)
                                          Matthew Sean Yungwirth
                                          Duane Morris - Atlanta
                                          1075 Peachtree Street, NE
                                          Suite 2000
                                          Atlanta, GA 30309-3929
                                          404/253-6935
                                          Fax: 404/253-6901
                                          Email: msyungwirth@duanemorris.com

                                          David C Dotson
                                          Duane Morris - Atlanta
                                          1075 Peachtree Street, NE
                                          Suite 2000
Case 2:15-cv-01877-JRG-RSP Document 119 Filed 05/19/16 Page 6 of 6 PageID #: 573




                                                     Atlanta, GA 30309-3929
                                                     404/253-6982
                                                     Fax: 404/253-6901
                                                     Email: dcdotson@duanemorris.com

                                                     Louis Norwood Jameson
                                                     Duane Morris - Atlanta
                                                     1075 Peachtree Street, NE
                                                     Suite 2000
                                                     Atlanta, GA 30309-3929
                                                     404/253-6915
                                                     Fax: 404/253-6901
                                                     Email: wjameson@duanemorris.com

                                                     Michael E Jones
                                                     Potter Minton, a Professional Corporation
                                                     110 N College Avenue
                                                     Suite 500
                                                     Tyler, TX 75702
                                                     903-597-8311
                                                     Fax: 903-593-0846
                                                     Email: mikejones@potterminton.com

                                                     S Neil Anderson
                                                     Duane Morris LLP - Atlanta
                                                     1075 Peachtree Street, NE
                                                     Suite 2000
                                                     Atlanta, GA 30309-3929
                                                     404-253-6900
                                                     Fax: 404-253-6901
                                                     Email: snanderson@duanemorris.com

                                                     ATTORNEYS FOR CELLCO
                                                     PARTNERSHIP D/B/A VERIZON
                                                     WIRELESS

                                 CERTIFICATE OF SERVICE


         I hereby certify that on May 19, 2016, I served the foregoing document via email on the

  attorneys of record for Plaintiff Rothschild Connected Devices Innovations, LLC.


                                                     /s/ Dawn M. Jenkins
                                                     Dawn M. Jenkins
